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                            ChapterPage    131 ofStanding        Trustee
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                                    Isabel C. Balboa, Chapter 13 Standing Trustee†
      Jane L. McDonald, Counsel                                                            Kelleen E. Stanley*
      Raymond H. Shockley, Jr. Staff Attorney                                               Jennie P. Archer*
      Jennifer R. Gorchow, Staff Attorney                                                 Lu’Shell Alexander*
                                                                                     *Certified Bankruptcy Assistant
                                                                           †Fellow, American College of Bankruptcy

                                                     July 31, 2019


The Honorable Andrew B. Altenburg, Jr.
United States Bankruptcy Court
P.O. Box 2067
Camden, New Jersey 08102

RE:      Chapter 13 Bankruptcy
         Debtor(s) Name:     Jennifer and Ryan Kahoun
         Case No:            19-24647 ABA

Dear Judge Altenburg:

       Please accept this letter in lieu of a more formal response and in support of the Order to
 Show Cause for Failure to Meet Credit Counseling Requirements and Failure to File Missing
 Documents, which is returnable August 20, 2019 at 10:30 a.m.

         Debtors have collectively filed seven (7) Bankruptcy Petitions within the past ten (10)
years, six (6) of which have been filed within the past eight (8) months as self-represented Debtors.
The following cases have been filed by Debtors:

   Case No.              Debtor        Date filed   Date dismissed           Reason for Dismissal
09-21970 JHW               Joint        5/11/09       8/21/2009      Chapter 7 Discharge received
18-32299 ABA             Jennifer       11/9/18      12/12/2018      Failure to file missing documents
19-10827 ABA             Jennifer       1/14/19       2/13/2019      Failure to file missing documents
19-15234 ABA             Jennifer       3/15/19       4/16/2019      Failure to file missing documents
19-21579 ABA              Ryan          6/10/19       7/10/2019      Failure to file missing documents
                                                                     and failure to meet credit
                                                                     counseling requirements
19-23720 ABA               Ryan          7/15/19      7/15/2019      Still an active case as of date of
                                                                     this correspondence
19-24647 ABA               Joint         7/29/19

          Debtors have acted in bad faith by collectively filing seven Bankruptcy Petitions, six of
 which have been filed within the past eight months, by having two active bankruptcy petitions,
 by failing to meet credit counseling requirements, failing to provide documents, failing to pay
 filing fees, failing to provide tax returns and/or proof of income; failing to attend §341(a) Meeting
 of Creditors, and failing to submit plan payments to the Trustee. The conduct of Debtors is
 evidence of an attempt to utilize the Court to hinder and delay payments to creditors.

          Based on the foregoing, pursuant to 11 U.S.C. §1307(c), the Trustee respectfully requests

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  Suite 580                                                                                       P.O. Box 1978
  Cherry Hill, NJ 08002                                                                 Memphis, TN 38101-1978
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Debtors’ case be dismissed with prejudice. The Trustee further requests pursuant to 11 U.S.C. §§
105(a), 109(g), 349(a), and 1307(c) and R. 9011(c), that this Honorable Court impose on the
Debtors sanctions in the form of a 180-day bar on future filings and such other sanctions as this
Court may deem appropriate to deter repetition of such conduct by the Debtors or comparable
conduct by others similarly situated.

         As always, please feel free to contact this office with any questions or concerns.

                                                              Respectfully submitted,

                                                              /s/ Jennifer R. Gorchow
                                                              Jennifer R. Gorchow
                                                              Staff Attorney
JRG/jpa
c:  Jennifer and Ryan Kahoun (Via Regular Mail)




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